      Case 2:16-cv-03602-DJH Document 147 Filed 04/25/19 Page 1 of 1



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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Brian Swontek,                                      No. CV-16-03602-PHX-DJH
10                  Plaintiff,                           ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                    Defendants.
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15          The Court having reviewed the parties’ Stipulation for Dismissal of Defendant
16   Continental Central Credit, Inc., with Prejudice (Doc.146), filed on April 24, 2019,
17          IT IS ORDERED approving the Stipulation (Doc. 146) and dismissing Defendant
18   Continental Central Credit, Inc., from this action, with prejudice, each party to bear its own
19   attorneys’ fees and costs.
20          IT IS FURTHER ORDERED that because Continental Central Credit, Inc., is the
21   only remaining defendant in this action, this action is dismissed in its entirety.
22          IT IS FURTHER ORDERED directing the Clerk of Court to terminate this action.
23          Dated this 24th day of April, 2019.
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27                                                 Honorable Diane J. Humetewa
                                                   United States District Judge
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